                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

TERRY LYNN KING,                                      )
                                                      )
         Plaintiff,                                   )      CAPITAL CASE
                                                      )
v.                                                    )      Case No. 3:18-cv-01234
                                                      )
TONY PARKER, et al.,                                  )      JUDGE CAMPBELL
                                                      )
         Defendants.                                  )



 DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND
     TO PLAINTIFF’S STATEMENT OF ADDITIONAL MATERIAL FACTS


         Defendants Lisa Helton and Tony Mays respectfully move, under Fed. R. Civ P. 6(b)(1)(A)

and LR6.01(a), for a three-day extension of time, up to and including Friday, May 6, 2022, within

which to file their Response to Plaintiff’s Statement of Additional Material Facts (D.E. 201).

         In support of this Motion, Defendants would show that there is good cause to grant the

motion for the following reasons:

      1. On April 13, 2022, Plaintiff filed his Statement of Additional Material Facts (D.E. 201),

         making Defendants’ Response to that Statement of Additional Material Facts due on April

         27, 2022.

      2. On April 27, 2022, Defendants sought an unopposed one-day extension until April 28,

         2022, to respond to Plaintiff’s Statement of Additional Material Facts, which this Court

         granted. (D.E. 210, 211.)

      3. On April 28, 2022, Defendants sought an unopposed extension of time until May 3, 2022,

         to respond to Plaintiff’s Statement of Additional Material Facts. (D.E. 213.)



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   4. Defendants have been working diligently to respond but have recently become aware of

       information that requires them to delay the filing of this Response in order to ensure they

       are making accurate representations to the Court.

   5. Counsel for Defendants have conferred with counsel for Plaintiff concerning this motion

       and counsel for Plaintiff has stated that he does not oppose this motion.

       For the foregoing reasons, Defendants respectfully request that the Court grant a three-day

extension of time up to and including May 6, 2022, within which Defendants may file their

Response to Plaintiff’s Statement of Additional Material Facts (D.E. 201.)



                                                            Respectfully submitted,

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                                                            s/ Rob Mitchell
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                               CERTIFICATE OF SERVICE


       I certify that on May 3, 2022, a copy of the foregoing was filed and served via the Court’s

CM/ECF system on the following:


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